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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

      HOWLINK GLOBAL LLC,            §
                                     §
            Plaintiff,               §                      CASE NO. 2:22-cv-00040-JRG-RSP
      v.                             §                      (Lead Case)
                                     §
      AT&T, INC, ET AL.,             §
                                     §
      VERIZON COMMUNICATIONS, INC.,  §                      CASE NO. 2:22-cv-00042-JRG-RSP
.     ET AL.,                        §                      (Member Case)
                                     §
            Defendants.              §
                                  ORDER

           Before the Court are two Motions to Intervene filed by Movant Nokia of America

    Corporation. Dkt. Nos. 63, 64. Nokia seeks to intervene in both of the above-captioned cases and

    Nokia’s intervention is unopposed.

           After due consideration, the Court GRANTS the motions (Dkt. Nos. 63, 64). It is

    therefore ORDERED that Nokia is permitted to intervene in these cases and to file responsive

    pleadings.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 14th day of July, 2022.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
